
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of respondent which found petitioner guilty of violating a prison disciplinary rule.
Petitioner commenced this CPLR article 78 proceeding challenging a determination finding him guilty of violating a prison disciplinary rule. The Attorney General has advised this Court that the determination at issue has been administratively reversed, all references thereto have been expunged from petitioner’s institutional record and the $5 mandatory surcharge has been restored to petitioner’s inmate account. Although petitioner also requests restoration to the status he enjoyed prior to the disciplinary proceeding, he has received all the relief to which he is entitled and the matter must be dismissed as moot (see Matter of Bornstorff v Fischer, 67 AD3d 1138 [2009] ; Matter of Henriquez v Goord, 34 AD3d 962 [2006]).
Mercure, J.P., Peters, Kavanagh, Stein and McCarthy, JJ., concur. Adjudged that the petition is dismissed, as moot, without costs.
